CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 1 of 41
               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                                    1
        1                         UNITED STATES DISTRICT COURT

        2                              DISTRICT OF MINNESOTA

        3   -   -   -   -     -    -    -   -   -   -   -   -   -   -   -   -   -       -

        4   In Re:

        5   Bair Hugger Forced Air Warming

        6   Products Liability Litigation

        7

        8   This Document Relates To:

        9   All Actions                             MDL No. 15-2666 (JNE/FLM)

       10   -   -   -   -     -    -    -   -   -   -   -   -   -   -   -   -   -       -

       11

       12

       13                   DEPOSITION OF TIMOTHY A. ULATOWSKI

       14                           VOLUME I, PAGES 1 - 414

       15                                   JULY 7, 2017

       16

       17

       18                   (The following is the deposition of TIMOTHY

       19   A. ULATOWSKI, taken pursuant to Notice of Taking

       20   Deposition, via videotape, at the Renaissance

       21   Arlington Capital View Hotel, 2800 Potomac Avenue,

       22   Arlington, Virginia, commencing at approximately 9:02

       23   o'clock a.m., July 7, 2017.)
       24

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               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                     12
09:07:40    1        Q.     Okay.    And then you were also a director in

09:07:40    2   the Center for Devices and Radiological Health?

09:07:43    3        A.     I was -- I was one of half a dozen

09:07:45    4   directors, office directors.

09:07:46    5        Q.     Right.   A director?

09:07:47    6        A.     I was a director.

09:07:48    7        Q.     Okay.    After leaving the FDA, you started

09:07:52    8   testifying in numerous lawsuits relating to medical

09:07:56    9   devices.

09:07:57   10        A.     "Numerous" meaning --

09:07:59   11        Q.     More than one.

09:08:00   12        A.     Yes.

09:08:00   13        Q.     Okay.    In fact, a significant source of your

09:08:04   14   income, to come to courtrooms and rooms like this and

09:08:09   15   give testimony that medical devices which are alleged

09:08:12   16   to be unsafe are in fact safe.

09:08:14   17               MS. EATON:   Object to the form of the

09:08:15   18   question.

09:08:16   19        A.     Well the -- the aspects of the case are --

09:08:19   20   are unique in every instance in regard to what are the

09:08:21   21   issues at hand, and I testify for -- for defendants

09:08:25   22   and plaintiffs.

09:08:26   23        Q.     Well when you're on the plaintiff's side,

09:08:27   24   it's a medical device company though; right?

09:08:29   25        A.     Not always, no.


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  CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 4 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       28
09:22:54    1   "here" meaning in that case -- "to testify as an

09:22:56    2   expert in any sort of medical area," and I said, "No,

09:22:59    3   I am not."

09:23:00    4           Q.   Okay.

09:23:00    5           A.   Well that was that case under those

09:23:03    6   conditions, under that -- that set of evidence

09:23:06    7   with -- given my opinions that I expressed in that

09:23:10    8   case.    Today, here we are in July of -- of 2017,

09:23:15    9   different set of documents, different set of

09:23:16   10   experiences.     But I have my opinions expressed in my

09:23:19   11   report.

09:23:19   12           Q.   Okay.   So as opposed to in I-Flow, today in

09:23:23   13   this case with these documents, with your opinions

09:23:25   14   today, are you giving medical opinions?

09:23:28   15           A.   I don't have any medical opinions in my

09:23:31   16   report.

09:23:32   17           Q.   So that's a no; correct?

09:23:34   18           A.   That's --

09:23:35   19                It's as what I stated.

09:23:36   20           Q.   I don't -- I don't understand because I

09:23:38   21   asked you if you were giving medical opinions here

09:23:41   22   today in this room -- you, individual, Ulatowski --

09:23:44   23   and you told me about your report, which leads me to

09:23:47   24   suggest that there may be some disconnect between what

09:23:50   25   your report contains and what you plan to testify


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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                         30
09:24:57    1   today?       Are you going to be giving any opinions like

09:25:01    2   that?

09:25:01    3           A.     I -- none of my --

09:25:04    4                  All my opinions are regulatory-focused.       I

09:25:08    5   don't provide comment on any particular engineering

09:25:15    6   test methodologies, except in Dr. David I provided an

09:25:19    7   overview comment of his approach in regard to his

09:25:22    8   report.       But other than that, certainly I think my

09:25:28    9   report discusses aspects of disinfection of medical

09:25:34   10   equipment which has a methodology to it, so it -- it's

09:25:37   11   kind of -- it depends as to what I'm asked and what's

09:25:43   12   reflected in my report.

09:25:44   13           Q.     So your expertise changes from the type of

09:25:47   14   questions you're asked is what you're saying.

09:25:48   15                  MS. EATON:    Object to the form of the

09:25:49   16   question.

09:25:50   17           A.     No.   I have expertise in -- in areas that

09:25:53   18   questions may provoke an answer that rely upon my

09:25:57   19   expertise in those areas.

09:25:58   20           Q.     Okay.   For instance, one of the things that

09:26:00   21   is involved in this case you understand is a surgery;

09:26:02   22   right?

09:26:02   23           A.     Is -- is surgery.

09:26:04   24           Q.     Correct.     Surgeries are involved in this

09:26:06   25   case.


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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                    31
09:26:06    1        A.   Yes.

09:26:07    2        Q.   Okay.   You don't hold yourself out as an

09:26:08    3   expert in any kind of surgical areas such as

09:26:12    4   orthopedic surgery.

09:26:13    5        A.   No.

09:26:13    6        Q.   You're not going to be giving the jury an

09:26:16    7   opinion within a reasonable degree of medical

09:26:20    8   certainty that there is valid scientific evidence of

09:26:22    9   probable health benefits from the use of the Bair

09:26:25   10   Hugger in orthopedic surgeries.

09:26:36   11        A.   Well I -- I allude to that in my report in

09:26:41   12   regard to benefit and risk, so inasmuch as my report

09:26:46   13   touches upon benefit aspects and -- and risk, which is

09:26:50   14   reflected in clinical studies, published data, my

09:26:55   15   report is what it is.

09:26:56   16        Q.   Well right.   And that report does not

09:26:58   17   contain an opinion to a reasonable degree of medical

09:27:02   18   certainty that there is valid scientific evidence of a

09:27:05   19   probable health benefit from the use of the Bair

09:27:08   20   Hugger in orthopedic surgeries.

09:27:11   21        A.   In orthopedic surgeries.     Well I guess I

09:27:13   22   have to look at my report because I do discuss valid

09:27:16   23   scientific evidence and I do discuss the relationship

09:27:21   24   with certain data submitted to FDA as consisting of

09:27:25   25   valid scientific evidence.    So again, it's a -- it's


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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                     32
09:27:28    1   the question, it's the specifics that you may ask.

09:27:30    2        Q.   Well let's dive into that.      In terms of you

09:27:33    3   giving opinions that there is, within a reasonable

09:27:35    4   degree of medical certainty, valid scientific evidence

09:27:38    5   of probable health benefits from the use of the Bair

09:27:40    6   Hugger in orthopedic surgeries, what is that

09:27:43    7   scientific evidence?

09:27:43    8        A.   Well it wouldn't be -- let me clarify.     It

09:27:46    9   wouldn't be --

09:27:48   10             I think in my report as I characterized it,

09:27:51   11   again, from a regulatory point of view, it was valid

09:27:54   12   scientif -- scientific evidence applied to the Bair

09:27:58   13   Hugger in regard to its regulatory significance, not

09:28:03   14   medical significance.

09:28:03   15        Q.   Okay.   So in other words, you may be giving

09:28:06   16   us opinions about whether or not the defendant

09:28:10   17   complied with the regulatory scheme that you oversaw

09:28:12   18   during your many years at the FDA, but at the same

09:28:15   19   time you will not be giving an opinion, a medical

09:28:18   20   opinion, about the benefits of a Bair Hugger in

09:28:20   21   orthopedic surgery.    Is that fair?

09:28:23   22        A.   Generally, no.

09:28:24   23        Q.   Okay.   Just because that may be a little --

09:28:28   24   on the record, are you -- are you disagreeing and

09:28:31   25   saying you will be giving medical opinions on the


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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       33
09:28:33    1   benefits of the Bair Hugger in orthopedic surgery or

09:28:35    2   you will not be giving those medical opinions?

09:28:37    3        A.     I will not.    But it depends on -- again, on

09:28:41    4   the question asked and whether it touches upon

09:28:43    5   expertise I may have.

09:28:44    6        Q.     Okay.   Well in terms of the question I just

09:28:46    7   asked and when I asked you for the scientific

09:28:50    8   evidence, do you have a medical opinion about the

09:28:52    9   benefits of the Bair Hugger in orthopedic surgeries?

09:28:57   10        A.     No.   I've refer -- referenced other groups

09:29:02   11   and persons who have commented on that as a basis for

09:29:06   12   certain opinions I have.

09:29:06   13        Q.     And there are other experts in this case, I

09:29:08   14   assume you know from reading your reports, who have

09:29:11   15   given medical opinions and are giving medical opinions

09:29:14   16   on behalf of 3M; correct?

09:29:15   17        A.     Yes, I know that.

09:29:16   18        Q.     Okay.   You would agree with me that in terms

09:29:19   19   of whether the Bair Hugger has medical benefit in an

09:29:22   20   orthopedic surgery, witnesses such as that are far

09:29:26   21   better addressed to answer that question than somebody

09:29:30   22   with your lack of medical training.

09:29:30   23               MS. EATON:    Object to the form of that

09:29:32   24   question.

09:29:32   25        A.     I would -- I would defer to other defendant


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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                      34
09:29:35    1   experts that have more direct experience in that

09:29:38    2   regard.

09:29:39    3           Q.   Okay.   By the same token, you will not be

09:29:43    4   giving the jury an opinion to a reasonable degree of

09:29:46    5   medical certainty about the degree of medical risk

09:29:47    6   from the use of the Bair Hugger in orthopedic

09:29:49    7   surgeries.

09:29:50    8           A.   Medical risk?

09:29:52    9           Q.   Correct.

09:29:53   10           A.   I would defer to other defendant experts in

09:29:56   11   regard to that.

09:29:56   12           Q.   You don't hold yourself out as an expert in

09:29:59   13   statistics or statistical analysis; correct?

09:30:01   14           A.   No, I do not.

09:30:04   15           Q.   Okay.   Now before you accept any litigation

09:30:07   16   work, do you agree with me you have to make sure you

09:30:10   17   don't have any conflicts of interest relating to the

09:30:12   18   work?

09:30:12   19           A.   That's correct.

09:30:13   20           Q.   I'm wondering:    Did you contact anybody at

09:30:17   21   the FDA, like an ethics officer, about your testimony

09:30:19   22   in this case?

09:30:20   23           A.   I have.

09:30:20   24           Q.   Okay.   And can you tell me --

09:30:21   25           A.   In this case?


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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                      43
09:39:54    1   that this product should not have cleared 510(k), both

09:39:58    2   as the Bair Hugger 500 and 750 series.

09:40:02    3               MS. EATON:    Object to the form of the

09:40:02    4   question.

09:40:03    5        A.     Well I don't think he comes out and says

09:40:06    6   that directly.      I think he says the -- the process

09:40:08    7   was -- was troubling in one respect or another.       Of

09:40:11    8   course I found otherwise, but -- but I -- I just -- I

09:40:17    9   just disagree with his perspective on the 510(k).

09:40:21   10        Q.     Sure.    We'll get to all of that.

09:40:23   11        A.     Sure.

09:40:25   12        Q.     All I'm trying to set up -- and I'm going to

09:40:26   13   use your word -- is you understand Dr. David is

09:40:28   14   critical in that he calls the regulatory history of

09:40:31   15   this product alarming; correct?

09:40:32   16               MS. EATON:    Object to the form of the

09:40:33   17   question.   That's not what he said.

09:40:34   18        A.     Well I mean "troubling" was --

09:40:35   19        Q.     "Troubling," I'm sorry, your word was

09:40:37   20   "troubling."    Let's do it again, put it on the record

09:40:41   21   again.

09:40:41   22               You understand that Dr. David in his report

09:40:41   23   criticizes the regulatory process as troubling.

09:40:44   24        A.     Yes.

09:40:45   25        Q.     Okay.    But in this case we don't have the


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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       44
09:40:48    1   kind of conflict we were just talking about because

09:40:50    2   you were never involved in any kind of 510(k) approval

09:40:53    3   for this product; right?

09:40:54    4        A.     Clearance for the product, no.

09:40:56    5        Q.     And again, let me go ahead and make that

09:40:59    6   clear for the record.     And please keep correcting me

09:41:02    7   if I use the wrong word today because eventually you

09:41:06    8   will probably drill it into my head.        But in terms --

            9   we don't --

09:41:08   10               In this case we don't have the same conflict

09:41:10   11   we had just been talking about where you may have a

09:41:12   12   plaintiff alleging something about 510(k) when you

09:41:15   13   were involved in it.     In this case you had no

09:41:17   14   involvement, did -- made no approvals in 510(k);

09:41:19   15   correct?

09:41:20   16        A.     510(k) clearances, yes.

09:41:22   17        Q.     510(k) clearances.

09:41:23   18        A.     Right.

09:41:24   19        Q.     Okay.    So the poten --

09:41:24   20               According to you, there is no potential

09:41:26   21   conflict because there is no approval letter from

09:41:31   22   Timothy Ulatowski regarding the Bair Hugger.

09:41:32   23               Or excuse me.

09:41:32   24               MS. EATON:   Object to the form of the

09:41:33   25   question.


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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                    51
09:46:50    1   kind of action is that?

09:46:51    2        A.   An advisory action.

09:46:52    3        Q.   Okay.   And -- and an advisory action is --

09:46:56    4             Those are actions that you had

09:46:57    5   responsibility at during what approximate time of your

09:47:00    6   tenure?

09:47:00    7        A.   2003 to 2011.

09:47:02    8        Q.   Okay.   During that entire period of that

09:47:04    9   space, you were involved in advising companies if they

09:47:09   10   were perhaps in violation or potential violation of

09:47:12   11   regulations.

09:47:13   12        A.   Correct.

09:47:13   13        Q.   Okay.   One of the people that you made an

09:47:17   14   advisory action to is your current client.

09:47:22   15        A.   Correct.

09:47:23   16        Q.   That --

09:47:25   17             And that advisory letter concerned adverse

09:47:28   18   events.

09:47:29   19        A.   Correct.

09:47:30   20        Q.   Those adverse events, those were burns;

09:47:33   21   right?

09:47:33   22        A.   That was associated, yes.      Right.

09:47:36   23        Q.   And there were burns that had not been

09:47:40   24   properly reported by the company.

09:47:41   25        A.   There were reporting issues that were


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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       52
09:47:43    1   observed.

09:47:44    2          Q.    You're familiar with what I say when I say

09:47:47    3   MDR?

09:47:47    4          A.    Correct.

09:47:48    5          Q.    Can you explain to the jury real quick what

09:47:50    6   an MDR is.

09:47:51    7          A.    Medical device report.     It's a report made

09:47:54    8   to FDA by manufacturers, by healthcare facilities, by

09:47:59    9   importers related to deaths or serious injuries

09:48:02   10   that -- or malfunctions that -- that may be related or

09:48:06   11   associated with a medical device.

09:48:08   12          Q.    That may be related; correct?

09:48:09   13          A.    Correct.

09:48:10   14          Q.    Okay.   In other words, if a -- a

09:48:13   15   manufacturer has information in its possession that a

09:48:16   16   device is potentially involved in an adverse event,

09:48:20   17   under certain circumstances that has to be reported.

09:48:23   18          A.    If there's reasonable evidence to that fact,

09:48:25   19   yes.

09:48:25   20          Q.    Okay.   In the case of your advisory letter,

09:48:30   21   there were adverse events that legally should have

09:48:33   22   been reported to the FDA but were not reported to the

09:48:35   23   FDA by Arizant; correct?

09:48:38   24          A.    As I recall, there were observations related

09:48:40   25   to late reports or non-reports, yes.         A few.


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 14 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       53
09:48:46    1        Q.    You would agree with me that the bulk of

09:48:49    2   your opinions in this case focus on FDA regulations,

09:48:51    3   FDA procedures such as the 510(k) clearance process,

09:48:55    4   FDA communications, defendants' compliance with

09:49:00    5   regulatory duties, these are the general things you're

09:49:04    6   testifying about.

09:49:04    7        A.    That's the bulk of it, although there's a --

09:49:08    8   a -- I'll call it a smattering of -- of expertise I --

09:49:13    9   I offer in regard to a particular area of expertise I

09:49:16   10   have in regard to disinfection, sterilization for

09:49:19   11   example.

09:49:19   12        Q.    Okay.    For my next series of questions I

09:49:22   13   want to limit us to the parts and opinions of your

09:49:24   14   report that deal with the 510(k) process.      Okay?

09:49:28   15        A.    Okay.

09:49:29   16        Q.    From the way I understand it, 510(k) is a

09:49:32   17   determination by the FDA that a product being offered

09:49:36   18   in the application is substantially equivalent to a

09:49:40   19   previously-legally-marketed product.

09:49:42   20        A.    That's correct.

09:49:43   21        Q.    Okay.

09:49:43   22        A.    That is also Class II and subject to legal

09:49:47   23   marketing, as you said.

09:49:49   24        Q.    Okay.

09:49:49   25        A.    For classification number.


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 15 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                      54
09:49:51    1        Q.   You would agree that your opinions in this

09:49:53    2   case both implicate the 510(k) clearance process in

09:49:56    3   general and with respect to Bair Hugger specifically.

09:49:59    4        A.   Correct.

09:49:59    5        Q.   Okay.    You would also say that the 510(k)

09:50:05    6   process speaks to or relates to safety and efficacy.

09:50:10    7        A.   Yes.    It must.

09:50:11    8        Q.   Okay.    In fact, you have testified before

09:50:17    9   and I believe you'll be testifying today that 510(k)

09:50:19   10   clearance is a determination of safety and

09:50:21   11   effectiveness.

09:50:22   12        A.   No, I am not.

09:50:23   13        Q.   Okay.    That's not going to be your opinion

09:50:25   14   today.

09:50:25   15        A.   No.

09:50:26   16        Q.   Okay.    I notice your report provides a

09:50:31   17   narrative description of the FDA processes for

09:50:33   18   regulating medical devices; is that correct?

09:50:35   19        A.   Correct.

09:50:36   20        Q.   It has an overview of forced-air warming

09:50:40   21   devices generally?

09:50:41   22        A.   Generally, yes.

09:50:42   23        Q.   Okay.    It has -- discusses a history of

09:50:45   24   Arizant's 510(k) submissions?

09:50:47   25        A.   Right, to the degree that I could discover


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 16 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       55
09:50:49    1   that on FDA's website.

09:50:50    2        Q.      Okay.   Now all of those things we just

09:50:57    3   talked about, these opinions that you hold, you will

09:50:59    4   agree with me multiple federal courts have excluded

09:51:03    5   those opinions as improper.

09:51:04    6                MS. EATON:   Object to the form of the

09:51:05    7   question.

09:51:05    8        A.      No, that's incorrect.

09:51:07    9        Q.      Okay.   Do you remember in --

09:51:08   10                You remember the Bellew versus Ethicon case?

09:51:11   11        A.      Well let me -- let me try and clarify what I

09:51:16   12   just said.     I know that certain judges have excluded

09:51:21   13   testimony on 510(k)s simply because they -- they don't

09:51:25   14   want to talk about federal regulations and 510(k)s.

09:51:28   15   It's not me, it's not my report, it's just an overall

09:51:32   16   decision that we're not going to talk about this

09:51:35   17   topic.

09:51:36   18        Q.      You don't believe that federal courts have

09:51:38   19   stated that you have stated the law incorrectly?

09:51:40   20        A.      Well if you let me finish -- you jumped in.

09:51:44   21                The other half has been in a case people

09:51:49   22   have brought up, Medtronic/Lohr, for example, and the

09:51:54   23   Supreme Court's decision on PMAs, premarket approval

09:51:58   24   applications versus 510(k)s, although the fact is that

09:52:03   25   I've recognized the regulatory standard for PMAs


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 17 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       58
09:54:20    1   question.

09:54:20    2        A.     I -- I don't recall that specific wording,

09:54:22    3   but that sounds like a legal approach.

09:54:27    4        Q.     Today we're not going to have that kind of

09:54:30    5   opinion.

09:54:31    6        A.     I'm not a lawyer.    I'm not going to --

09:54:33    7               I haven't proposed my opinions in those

09:54:35    8   in -- in the framework of a -- of a -- of a

09:54:38    9   litigation -- legally-based litigation aspect.

09:54:42   10        Q.     And therefore you're not going to be giving

09:54:44   11   an opinion about whether the design of the Bair Hugger

09:54:46   12   device was negligent or non-negligent.

09:54:54   13        A.     Well I guess I have to understand the

09:54:56   14   parameters of the definition and what that entails.

09:55:00   15   You know, I understand that from a -- from a --

09:55:04   16               I understand at least that from a -- from a

09:55:06   17   legal position that there's -- one has to be very

09:55:10   18   careful in how one approaches the negligence and

09:55:12   19   defect in regard to how that is defined in a

09:55:16   20   particular state or particular MDL versus as FDA may

09:55:19   21   define safety and effectiveness and how that -- those

09:55:23   22   things differ.

09:55:23   23        Q.     Okay.   Similarly, likewise -- because you

09:55:26   24   brought up the term, it's going to be my next

09:55:29   25   question -- is about the concept of defect.     And are


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 18 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                     59
09:55:31    1   you going to be giving an opinion in this case that

09:55:33    2   the Bair Hugger is or is not defective?

09:55:36    3        A.   I haven't rendered an opinion on that.

09:55:38    4        Q.   Okay.

09:55:39    5        A.   My position is, from a reg -- regulatory

09:55:42    6   perspective, were these products found substantially

09:55:45    7   equivalent or the basis for ---for those findings, so

09:55:51    8   on and so forth.

09:55:52    9        Q.   Okay.    We had talked a little bit earlier

09:56:00   10   about the 510(k) clearance process and about clearance

09:56:04   11   being granted when a product is found to be

09:56:06   12   substantially equivalent to a previously-legally-

09:56:09   13   marketed device.    Do you remember that?

09:56:11   14        A.   Yes.

09:56:11   15        Q.   Okay.    In terms of what "substantially

09:56:15   16   equivalent" means, you would agree that that means the

09:56:18   17   product has the same intended use and same

09:56:22   18   technological characteristics, or it may have

09:56:25   19   differences but those do not raise new questions of

09:56:28   20   safety or effectiveness.

09:56:29   21        A.   Yes.     That's how the statute and -- and --

09:56:32   22   is embedded in the regulations.

09:56:34   23        Q.   Okay.    You would also agree with me that the

09:56:36   24   510(k) process is a very liberal process in regards to

09:56:40   25   the uses of its products.


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 19 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                      65
10:02:50    1        A.   Right, yes.    The IOM, yes.

10:02:52    2        Q.   And then as soon as IO --

10:02:55    3             Like when the IOM came out is roughly

10:02:57    4   concurrent with when you left the agency.

10:03:00    5        A.   When the report came out, yes.

10:03:01    6        Q.   Correct.    That report --

10:03:02    7             MS. EATON:    Can I just clarify?   You said

10:03:05    8   2001, and I think you meant 2011.

10:03:08    9             MR. BANKSTON:    That is true.

10:03:09   10             THE WITNESS:    Yeah.   I let that go by.

10:03:09   11             MS. EATON:    I just want that to be clear on

10:03:11   12   the record.

10:03:11   13        Q.   Yeah.   You left the agency in 2011.

10:03:14   14        A.   '11, yes.

10:03:14   15        Q.   That's when the IOM report was published.

10:03:17   16        A.   It was thereabouts, yes.

10:03:19   17        Q.   Okay.   That IOM report states/finds that the

10:03:21   18   510(k) process was not designed to determine whether a

10:03:23   19   new device provides a reasonable assurance of safety.

10:03:29   20        A.   Yeah.   The -- the IOM --

10:03:32   21             There's only two real conclusions in the IOM

10:03:36   22   report, and one of them is the 510(k) process was not

10:03:39   23   designed to evaluate safety and effectiveness in

10:03:44   24   certain cases, but the fact of the matter is, as FDA

10:03:49   25   has implemented the process, it certainly had to


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 20 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                           72
10:10:16    1         A.     Yes.

10:10:16    2         Q.     Okay.   You'll agree -- and I have some

10:10:19    3   language there I believe you'll see there on page

10:10:21    4   65 -- and you'll agree that the working group found

10:10:26    5   that the Center for Devices and Radiological Health

10:10:29    6   does not have an adequate mechanism to regularly

10:10:32    7   assess the quality, the consistency, and the

10:10:35    8   effectiveness of the 510(k) program.         I'm assuming you

10:10:39    9   were made aware of that.

10:10:40   10         A.     Yeah.   Let me just read it.        I -- I recall

10:10:42   11   it.

10:10:50   12                Yes, I understand this.     I -- I think it's

10:10:53   13   not quite accurate in that CDRH actually had gone

10:11:01   14   through --

10:11:01   15                If you were there long enough -- you know,

10:11:04   16   37 years -- you would have been aware, and these -- I

10:11:09   17   don't think these people have awareness of it, but FDA

10:11:12   18   had -- had been through previous cycles of analysis of

10:11:16   19   the 510(k) program, had undergone a -- an intensive

10:11:22   20   evaluation of the 510(k) program and consistency in

10:11:26   21   the 510(k) program and retrospective analysis of prior

10:11:31   22   510(k) decisions, one of them is called the Temple

10:11:34   23   Report, and I think what this group was saying, we

10:11:38   24   need to build in that sort of review process more

10:11:42   25   frequently and more systematically than what we've


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 21 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                         76
10:14:48    1           Q.   Sure.    I mean the FDA is rigorous about

10:14:50    2   this.    It values that support.

10:14:52    3           A.   Correct.

10:14:52    4           Q.   And one of those people would be Dr. Yadin

10:14:56    5   David.

10:14:57    6           A.   I comment on my understanding of

10:15:00    7   his, based on his CV that he produced and my fading

10:15:05    8   knowledge of my interaction with him, what his

10:15:08    9   experience was.

10:15:08   10           Q.   Uh-huh.    He was a private-sector consultant

10:15:10   11   that was engaged by the FDA.

10:15:13   12                MS. EATON:    Object to the form of the

10:15:15   13   question.

10:15:15   14           A.   Well he attests to the fact that he's on the

10:15:20   15   GMP committee.       I don't think he attests to anything

10:15:22   16   more.

10:15:22   17           Q.   He's on several committees according to his

10:15:25   18   CV; isn't he?

10:15:26   19           A.   Not FDA committees --

10:15:27   20           Q.   Okay.

10:15:28   21           A.   -- is my understanding from his CV.

10:15:32   22           Q.   Okay.    You'll agree with me that it's the

10:15:34   23   manufacturer, not the FDA, who is primarily

10:15:37   24   responsible for the assurance of safety of medical

10:15:39   25   devices.


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 22 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       77
10:15:45    1        A.     Yes.    The regulations are geared to the fact

10:15:47    2   that the manufacturer must follow regulations in order

10:15:52    3   to design and manufacture and monitor the devices,

10:15:56    4   with the surveillance and oversight of FDA.

10:15:58    5        Q.     Right.    The FDA can't monitor each and every

10:16:01    6   manufacturer and the marketing of each and every

10:16:04    7   product; can it?

10:16:04    8        A.     No.    That's why FDA prioritizes its

10:16:07    9   monitoring and its evaluation of devices.

10:16:20   10        Q.     One of the opinions you give in your report

10:16:24   11   is that the FDA must consider issues of safety and

10:16:26   12   effectiveness when comparing any differences in

10:16:31   13   indications for use in claims.       You'd agree with that?

10:16:33   14        A.     Correct.

10:16:33   15        Q.     Okay.    And -- and I think, as we saw from

10:16:36   16   your I-Flow testimony, you'll agree that prior

10:16:38   17   clearances have just as much importance and effect as

10:16:41   18   current clearances.

10:16:42   19               MS. EATON:   Object to the form of the

10:16:44   20   question.

10:16:44   21        A.     Yes.    They have an impact on assessing

10:16:47   22   indications and intended use.

10:16:48   23        Q.     The prior clearances have just as much

10:16:54   24   importance as the current submission.

10:16:56   25               MS. EATON:   Object to the form of the


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 23 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                     87
10:26:24    1   know, FDA was certainly made aware at that point in

10:26:27    2   time with the 505.

10:26:29    3               As far as the 500, I'm -- I'm recollecting

10:26:32    4   the data submitted and I'm not sure if there was OR

10:26:37    5   references in there as I recall.

10:26:38    6        Q.     Okay.    What about the 500 OR, do you know

10:26:41    7   anything about that product?

10:26:42    8        A.     Yeah.    Variation of the 500 probably, yes.

10:26:47    9        Q.     Okay.    When the FDA became aware that the

10:26:49   10   IFUs were being expanded to include OR usage, part of

10:26:55   11   the job then of the FDA would be to determine if that

10:27:00   12   expansion of IFUs presented any new questions of

10:27:04   13   safety.

10:27:04   14               MS. EATON:   Object --

10:27:05   15        A.     Right.

10:27:05   16               MS. EATON:    -- to the form of the question.

10:27:06   17        A.     Yes.    That would be an element for FDA to

10:27:09   18   consider.   And we know that in the 505 they actually

10:27:12   19   considered the flip side, which was home use, as being

10:27:15   20   potentially significant.      So yes, FDA was analyzing

10:27:20   21   the -- the -- the -- the possibilities for use of the

10:27:24   22   product.

10:27:24   23        Q.     Okay.    What did the FDA do to determine that

10:27:29   24   the Bair Hugger's expansion of use into the OR did not

10:27:33   25   pose any new questions of safety?


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 24 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                     88
10:27:37    1         A.    Well we don't have available to us the

10:27:40    2   reviews by FDA, so we don't -- we cannot benefit from

10:27:46    3   that, but as a -- as a matter of policy and procedure,

10:27:49    4   FDA would be required to evaluate that, bring to -- to

10:27:53    5   bring to bear not only what's been submitted but also

10:27:56    6   any other information it may bring to bear in its

10:28:00    7   knowledge of patient warming devices being used in the

10:28:03    8   OR.   So -- so FDA can bring to bear, as I did numerous

10:28:08    9   times over many years and as I trained people to do,

10:28:11   10   other submissions, literature, expert opinion of -- of

10:28:16   11   individuals on staff or advisory committee members.

10:28:19   12   So it's -- it's a very -- it's a more comprehensive

10:28:23   13   input source than just a submission.

10:28:25   14         Q.    I -- I'm guessing from your comments that

10:28:28   15   it -- it would be difficult for you to talk about what

10:28:32   16   happened in terms of the 500 series in terms of its

10:28:35   17   510(k) clearance process because, according to you, we

10:28:38   18   don't have the decision-making documentation produced

10:28:42   19   in this case or available for your review for you to

10:28:46   20   be able to discuss those matters.

10:28:47   21               MS. EATON:   Object to the form of the

10:28:48   22   question.

10:28:48   23         A.    Well I can't discuss the reviews without

10:28:50   24   having them, and having them would shed more light on

10:28:54   25   FDA's foundation for their finding of substantial


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 25 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       89
10:28:57    1   equivalence, but in the absence of that I certainly

10:29:00    2   understand the review process and what's brought to

10:29:03    3   bear.

10:29:03    4           Q.   Let me -- let me back up a little bit to --

10:29:06    5                MR. BANKSTON:    In fact, I can just give you

10:29:07    6   a copy of this really quick.       Actually, let's mark

10:29:10    7   that as an exhibit.      And I have a copy for you.

10:29:20    8                (Ulatowski Exhibit 2 was marked for

10:29:21    9                identification.)

10:29:21   10   BY MR. BANKSTON:

10:29:28   11           Q.   Mr. Ulatowski, I handed you what's been

10:29:30   12   marked as Ulatowski Exhibit 2.        It is an attachment to

10:29:34   13   your report; correct?

10:29:35   14           A.   Yes.

10:29:35   15           Q.   Okay.   This is a list of materials that you

10:29:37   16   reviewed in coming to your opinions in this case.

10:29:40   17           A.   Yes.

10:29:40   18           Q.   Okay.   These materials, were these things

10:29:44   19   that you actually went out and located yourself, or

10:29:49   20   were they things that were provided to you?

10:29:51   21           A.   Some things I did, some things that were

10:29:55   22   produced in -- in the litigation.

10:29:55   23           Q.   Okay.   One of the things that you'll see in

10:29:57   24   this list is a long list of Bates-numbered documents;

10:30:01   25   correct?


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 26 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                      93
10:32:19    1        Q.      Included within that scope of documents you

10:32:23    2   do not -- you were not provided the decision-making

10:32:26    3   documents for the 510(k) approval process for the

10:32:29    4   series 500 Bair Hugger.

10:32:32    5        A.      No.   I don't have those.    I have no

10:32:36    6   knowledge if they exist.       But those would be obtained

10:32:39    7   through Freedom of Information requests.

10:32:41    8        Q.      Or perhaps, if they were produced in a

10:32:43    9   lawsuit, you could also have access to them that way;

10:32:47   10   right?

10:32:47   11        A.      Well inasmuch as the company has them.    But

10:32:50   12   the company typically doesn't have the FDA review

10:32:52   13   documents.

10:32:53   14        Q.      Do you know if 3M does?

10:32:54   15        A.      No.

10:32:56   16        Q.      Have you asked them?

10:32:58   17                Is that a type of material you would have

10:33:01   18   wanted to review in this case?

10:33:04   19        A.      No.   I looked at the 510(k) submissions --

10:33:04   20        Q.      So the decision --

10:33:06   21        A.      -- and -- and -- excuse me -- and in the

10:33:08   22   510(k)s there's also documentation of FDA's

10:33:10   23   interaction with the company, the letters that FDA has

10:33:12   24   written to the company, the responses by the company,

10:33:15   25   so there's some -- there's important information


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 27 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                     134
11:31:33    1   document, and what he's asked you to do is provide him

11:31:35    2   the article cited within the document so that he could

11:31:36    3   review that.

11:31:36    4             MR. BANKSTON:     Okay.   First of all, that's

11:31:38    5   not an objection.    Second of all, I've already said

11:31:41    6   three times put that document over there, I don't want

11:31:43    7   to talk about that document any more.

11:31:45    8        Q.   What we are talking about is what you came

11:31:47    9   to in your report, which is a statement that there is

11:31:48   10   valid scientific evidence of the Bair Hugger's use in

11:31:51   11   operating rooms and that that evidence existed at the

11:31:55   12   time of the Bair Hugger's clearance, and what I think

11:31:57   13   I'm understanding from you is that when I am here

11:32:00   14   today to ask you what evidence that is, what evidence

11:32:03   15   you're relying on to make that opinion, you are

11:32:05   16   telling me today in deposition you will not be able to

11:32:07   17   give me that answer.

11:32:08   18        A.   I'm not prepared to give you that answer --

11:32:10   19        Q.   Okay.

11:32:11   20        A.   -- today.

11:32:11   21        Q.   Thank you, sir.

11:32:12   22        A.   Not to say it does not exist.

11:32:14   23        Q.   Sure.     Just not going to disclose that today

11:32:17   24   in the deposition that we are here to talk about.

11:32:20   25        A.   Right.


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 28 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       143
11:39:37    1        Q.     I'm glad that --

11:39:37    2               Interesting, because that's exactly where I

11:39:40    3   was going to be going, is that there are other things

11:39:42    4   with the device that can change besides technological

11:39:45    5   characteristics that would require the FDA to ask that

11:39:48    6   question again, is there a possible effect on the

11:39:49    7   safety, and one of those things that could change is

11:39:52    8   the indications for use.

11:39:53    9        A.     Right.    It may --

11:39:54   10               But those are typically very significant

11:39:56   11   changes.

11:39:56   12        Q.     Sure.    So, for instance, say you had a

11:39:59   13   device and it had a -- a very significant change in

11:40:02   14   the indications for use.      One day it's being used to

11:40:05   15   treat bunions, the next day it's in brain surgery.

11:40:09   16   Right?    If you have that kind of significant change,

11:40:13   17   there's going to need to be the question asked does it

11:40:13   18   raise any safety or effectiveness questions.

11:40:13   19        A.     Correct.

11:40:14   20        Q.     If the IFUs are not changed, there's no

11:40:17   21   change in the IFUs, you don't have to ask if there's

11:40:21   22   any changes in safety and effectiveness for the IFUs

11:40:23   23   because those IFUs haven't changed.

11:40:25   24        A.     Correct.

11:40:25   25        Q.     You might have to ask it for other things


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 29 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                         156
11:50:44    1   to PMA.    You have to figure out what kind of device it

            2   is.   That would be your first step --

11:50:52    3         A.    Well in -- in a very --

11:50:52    4               THE REPORTER:    Just a moment.

            5               THE WITNESS:    We're stepping on each other.

11:50:52    6               THE REPORTER:    You are.   One at a time,

11:50:54    7   please.

11:50:54    8         Q.    Let's -- let's -- let's do it real simply in

11:50:55    9   little chunks from this doc.

11:50:56   10         A.    I'll slow up as well.     Right.

11:51:00   11         Q.    How about this way?     Is the product --

11:51:00   12               The first thing you have to determine is is

11:51:02   13   the product a device.

11:51:05   14         A.    Yes, generally, in a -- in a very general

11:51:08   15   manner.

11:51:08   16         Q.    Now devices can be subject to different FDA

11:51:11   17   regulations.

11:51:12   18         A.    Correct.

11:51:12   19         Q.    One of those regulations is 510(k).

11:51:15   20         A.    Correct.

11:51:16   21         Q.    One --

11:51:17   22               So then one of the next things you have to

11:51:18   23   determine, is the device subject to 510(k)?

11:51:22   24         A.    Yes.   You may --

11:51:24   25               That may be a front-end decision or will


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 30 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                         157
11:51:26    1   have to remain as a back-end determination.

11:51:29    2          Q.   Right.   Okay.    And then one of the next

11:51:32    3   things you might do when actually looking at the

11:51:34    4   product -- and I'm not sure what order you might do

11:51:38    5   this, so if this is out of order, you know, I know --

11:51:39    6   but one of the steps might be does the product have

11:51:41    7   the same indication statement.

11:51:44    8          A.   Right.

11:51:45    9          Q.   And in this case you would conclude, no, it

11:51:49   10   doesn't, and then that would trigger you to ask the

11:51:51   11   question does that new indication for use present any

11:51:55   12   safety questions.

11:51:57   13          A.   Yes.

11:51:57   14          Q.   That would be the proper way for a 510(k)

11:52:00   15   reviewer to go about looking at this product.

11:52:02   16          A.   Yes.

11:52:02   17          Q.   Okay.

11:52:08   18               MR. BANKSTON:     Are we at --

11:52:09   19               I'm not sure if my time is off of Central or

11:52:12   20   not.   Are we near --

           21               Are we at noon?    Is that where we're at, or

11:52:15   22   are we at 11:00?

11:52:15   23               (Discussion off the stenographic record.)

11:52:16   24               (Luncheon recess taken.)
           25



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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 31 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       164
12:55:10    1   that would have to be answered is do those differences

12:55:13    2   pose any new questions of safety and effectiveness,

12:55:15    3   and the answer to that would be no; correct?

12:55:18    4          A.    Well I think we're saying are the

12:55:22    5   indications different.       Well I think there's different

12:55:24    6   wording, but within FDA's evaluation of devices, FDA

12:55:29    7   may be more allowing, if I can use that word, in

12:55:37    8   regard to differences in words or conditions than you

12:55:42    9   might think.     For example, I said is this still used

12:55:47   10   in hospital?     Yes/no.   Is this outside of hospital

12:55:50   11   use?   So it depends to what degree and level the FDA

12:55:54   12   evaluator considered those factors.

12:55:56   13          Q.    Okay.   Well let's talk about with this

12:55:58   14   device, the Bair Hugger, moving from the 200 to the

12:56:01   15   500.   So the 500 was approved, and from what I'm

12:56:05   16   understanding from you, the FDA understood that there

12:56:08   17   was a change in indications for use but concluded that

12:56:11   18   those changes did not affect health and safety

12:56:15   19   questions.

12:56:16   20                MS. EATON:    Object to the form of the

12:56:16   21   question.

12:56:17   22          A.    I think that's the case.

12:56:18   23          Q.    Okay.

12:56:35   24                (Ulatowski Exhibit 4 was marked for

12:56:37   25                identification.)


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 32 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                      169
12:59:53    1   interpretation and consider in-hospital use the same

12:59:56    2   indication use -- for use.

12:59:57    3        Q.     I -- I just want to make sure I'm clear on

12:59:59    4   your testimony because I was pretty sure you had told

13:00:04    5   me that from your review of materials in this case and

13:00:04    6   from your review of materials like what's in front of

13:00:06    7   you, that the indications statement and the

13:00:08    8   indications for use on the Bair Hugger fif -- 500

13:00:11    9   versus the 200 had changed and that that would require

13:00:14   10   the FDA to ask if that raised new safety of -- safe --

13:00:18   11   new questions of safety and effectiveness.      Do you

13:00:22   12   agree with that or not?

13:00:22   13        A.     Well I don't think I expressed that in my

13:00:24   14   report, but as I view this here now, that could be my

13:00:29   15   approach.   But it doesn't mean his approach is

13:00:33   16   invalid.

13:00:33   17        Q.     And you see where it says "DO DIFFERENCES

13:00:35   18   ALTER THE EFFECT OR RAISE NEW ISSUES OF SAFETY OR

13:00:38   19   EFFECTIVENESS?"      Do you see where it says that?

13:00:40   20        A.     Yes.

13:00:41   21        Q.     That question was not answered; correct?

13:00:43   22        A.     Right.    It wouldn't have to be answered.

13:00:45   23        Q.     Right.    Because you can skip it if you find

13:00:47   24   it has the same indications statement.

13:00:49   25        A.     Correct.


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                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                        190
13:22:09    1        Q.     Correct.     So by your definition, you are not

13:22:13    2   going to be testifying in this case that there is a

13:22:17    3   reasonable assurance from a medical point of view that

13:22:18    4   the device is safe.

13:22:22    5        A.     I don't think I address that in my report

13:22:24    6   head on.

13:22:25    7        Q.     And I -- uh-huh.    And so I just want to

13:22:28    8   confirm that's not an opinion you're going to be

13:22:31    9   giving.

13:22:31   10        A.     That's correct.

13:22:31   11        Q.     Okay.   I want to talk to you about your

13:22:35   12   opinion that 3M was appropriate in not considering the

13:22:42   13   MDR reports that were based on litigation because they

13:22:46   14   would not reasonably suggest to the company that there

13:22:48   15   was an event, in basic shorthand.       Do you agree that's

13:22:52   16   essentially your opinion?

13:22:53   17               MS. EATON:    Let me object to the form of the

13:22:54   18   question.

13:22:55   19               MR. BANKSTON:    What's wrong on that one?

13:22:58   20               MS. EATON:    The word "considering."

13:22:58   21               MR. BANKSTON:     Okay.

13:22:58   22               MS. EATON:    I object to that word.     I don't

13:23:00   23   think it's accurate.

13:23:00   24               MR. BANKSTON:     Okay.   Let's -- let's get

13:23:02   25   that from your report.      That's in your report.


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 34 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                           224
14:05:40    1   involvement in regulating the product line being

14:05:43    2   litigated.

14:05:48    3        A.      Yes.    I've done so before, and I have not

14:05:50    4   been prevented from doing so upon the opinion of the

14:05:53    5   Ethics Office.       And again, I know it may be a big deal

14:05:59    6   to you, but this is even -- not even the subject of

14:06:02    7   this litigation for this particular device.

14:06:04    8        Q.      Well let's -- let's just go ahead and focus

14:06:07    9   like a laser in on that, then, not just the device but

14:06:10   10   the issues we're talking about today.

14:06:11   11                When it comes to the allegations of airborne

14:06:14   12   contamination, did you have any personal involvement

14:06:15   13   at all at the FDA to reviewing those allegations?

14:06:19   14        A.      No.

14:06:20   15        Q.      Okay.

14:06:20   16        A.      Well let me take that back.         You know, it

14:06:24   17   was the subject of evaluation of FDA inspection, but I

14:06:29   18   believe that came along after I had departed from FDA.

14:06:31   19        Q.      What I guess I'm asking you is:        Have you

14:06:34   20   been involved in written communications between, say,

14:06:37   21   either Augustine or with your current client about

14:06:40   22   airborne contamination issues while you were

14:06:43   23   responsible for compliance at the FDA?

14:06:46   24        A.      Airborne compliance --

14:06:48   25                Airborne contamination generally or


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 35 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                      231
14:12:09    1          A.   -- see what this is all about, because this

14:12:11    2   is news to me.

14:12:43    3               Okay, I've read it.

14:12:45    4          Q.   Okay.   Your answer?

14:12:46    5          A.   Never saw it before.

14:12:47    6          Q.   That's not the question, sir.

14:12:49    7          A.   What's the question?

14:12:49    8          Q.   The question for the third time is:     This is

14:12:51    9   a letter addressed with your name on it, your address,

14:12:55   10   that discusses the allegations of airborne

14:12:58   11   contamination that we've been discussing today.

14:13:00   12          A.   Yes.    My address is on here.

14:13:01   13          Q.   Uh-huh.

14:13:02   14          A.   I never received it.     I have no knowledge of

14:13:07   15   it.

14:13:07   16          Q.   You -- well let's -- let's back up.     You

14:13:07   17   don't have any independent knowledge about whether you

14:13:09   18   actually put hands on this letter seven years ago; do

14:13:12   19   you?

14:13:12   20          A.   It's unlikely I did because of the reasons I

14:13:14   21   said already.

14:13:14   22          Q.   All right.   Prior to this letter, you had

14:13:18   23   been directly sent MedWatch reports relating to these

14:13:21   24   issues; correct?

14:13:22   25          A.   No, I wouldn't have received them directly.


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 36 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                      241
14:22:31    1        Q.    Okay.   I want you to flip further into the

14:22:33    2   discussion of this to page 73.

14:22:35    3        A.    Okay.

14:22:39    4        Q.    All right.   I want to direct your attention

14:23:02    5   to the final paragraph on page 73.      Do you see there

14:23:07    6   it says, "According to the FDA" --

14:23:09    7              Or let me start that again so -- I want to

14:23:13    8   make sure we get this word perfect.       "According to

14:23:15    9   FDA, a Warning in labeling may be appropriate if there

14:23:18   10   is reasonable evidence of an association of a serious

14:23:22   11   hazard with the use of the device."       That's correct?

14:23:26   12        A.    Correct.   I reference that.

14:23:28   13        Q.    All right.   And that cites your footnote 132

14:23:33   14   is an FDA guidance document; correct?

14:23:33   15        A.    Correct.

14:23:34   16        Q.    These are known as Blue Book guidance;

14:23:37   17   correct?

14:23:37   18        A.    Correct.

14:23:38   19        Q.    Okay.   And that cites an FDA website;

14:23:41   20   correct?

14:23:41   21        A.    Correct.

14:23:42   22        Q.    Okay.   Now in your report you give four

14:23:45   23   reasons why a warning -- the lack of a warning was

14:23:49   24   appropriate, and I want to talk about those four

14:23:51   25   reasons.


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 37 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                     247
14:28:44    1        A.   Well it's all within the --

14:28:47    2             Perhaps, perhaps not, because it's all

14:28:49    3   within the context of the company's risk analysis,

14:28:54    4   risk management analysis whether or not there's a

14:28:58    5   credible association of the device to -- to the event.

14:29:06    6   So if the company has conducted analysis or has

14:29:10    7   otherwise assessed that and they've decided, no, it

14:29:14    8   really doesn't apply at this point in time, you know,

14:29:16    9   we don't have enough data, you know, they may decide

14:29:19   10   it's not yet time for a warning.

14:29:20   11        Q.   Okay.     And that kind of analysis that you're

14:29:23   12   talking about, that has to be done irrespective of if

14:29:26   13   there are MDR reports or not.

14:29:28   14        A.   Well the whole -- the --

14:29:30   15             Right.     Well, a device that's not yet

14:29:33   16   marketed, there is no experience, there are no MDR

14:29:35   17   reports, so the labeling is based upon those factors I

14:29:38   18   mentioned before:    prior similar devices, literature

14:29:43   19   related to the device, the risk management analysis

14:29:47   20   which may lead to labeling of the device.     So it's a

14:29:51   21   number of things.

14:29:51   22        Q.   Okay.     I want to go to your second reason

14:29:54   23   why a warning was not necessarily appropriate in this

14:29:57   24   case, okay, and that reason is the lack of a direct

14:30:01   25   causal relationship of infections to forced-air


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 38 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                      248
14:30:04    1   warming.    Do you remember that opinion?

14:30:05    2        A.     Yes.    I have it here.

14:30:06    3        Q.     Yeah.    And that's right there in front of

14:30:08    4   you as well.

14:30:09    5               In other words, nobody's proved a causal

14:30:12    6   relationship between infection and forced-air warming.

14:30:15    7        A.     To my knowledge, I -- I haven't seen it.      I

14:30:18    8   don't think any of your experts are attesting to that.

14:30:21    9        Q.     Right.   And so for that reason, because that

14:30:25   10   causal relationship has not been proved, warnings are

14:30:29   11   not necessarily appropriate.

14:30:30   12        A.     Well then that -- that would lend itself to

14:30:34   13   not having it as a warning.      There's other ways of

14:30:37   14   providing communication, but not necessarily a

14:30:39   15   warning.

14:30:40   16        Q.     I mean a company is not going to give a

14:30:43   17   warning for a condition that hasn't been proved.

14:30:45   18               MS. EATON:    Object to the form of the

14:30:46   19   question.

14:30:46   20        Q.     A causal --

14:30:47   21               Excuse me.    Let me rephrase that.   A company

14:30:50   22   is not going to give a warning regarding a causal

14:30:51   23   relationship between a condition and a product that

14:30:53   24   hasn't been proved.

14:30:54   25        A.     Well a warning --


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 39 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                    252
14:33:29    1        A.   Hang on a second.

14:33:37    2             Yes, --

14:33:38    3        Q.   Okay.

14:33:38    4        A.   -- as I've explained to you.

14:33:39    5        Q.   Yes.    So in --

14:33:41    6             Dr. David, he cited on page 41 of his report

14:33:43    7   the exact same Blue Books document that you cited.

14:33:46    8        A.   Right.

14:33:47    9        Q.   Okay.    And he includes the line that you

14:33:50   10   omitted, which is a causal relationship need not have

14:33:53   11   been proved.

14:33:53   12        A.   I just explained that to you.

14:33:55   13        Q.   I'm asking you what's in your report, sir.

14:33:57   14   That's not in your report; is it?

14:34:00   15        A.   That statement is not in my report.

14:34:01   16        Q.   Right.    That statement was omitted.

14:34:04   17             And these are Blue Book documents that you

14:34:07   18   relied on and administered for years; correct?

14:34:10   19        A.   Well I don't have a long answer here.

14:34:16   20   This -- this -- although there's some utility --

14:34:20   21             First of all, this is a guidance document,

14:34:22   22   it's not regulation; therefore, it -- it can be

14:34:25   23   applied to the degree the FDA chooses to apply it and

14:34:29   24   industry chooses to apply it, because there -- it's

14:34:33   25   not force of regulation.     And secondly, if you read


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 40 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       271
15:00:47    1   studies, --

15:00:48    2        Q.     Okay.

15:00:49    3        A.     -- and -- and that's simply the case.      I

15:00:52    4   just, for example, comment on Dr. David's approach to

15:00:58    5   analyzing the literature indicating that he appeared

15:01:01    6   to be very selective in what he looked at.

15:01:04    7        Q.     All right.   You have -- you have no training

15:01:07    8   as an orthopedic physician; correct?

15:01:08    9        A.     No.

15:01:09   10        Q.     Okay.    You have no training or --

15:01:13   11               Not an infectious disease doctor; right?

15:01:15   12        A.     I'm not an infectious disease doctor.

15:01:18   13        Q.     All right.   One of --

15:01:19   14               You've got an opinion in your case

15:01:20   15   addressing Dr. William Jarvis, right, and his

15:01:23   16   opinions?

15:01:24   17        A.     Related to HICPAC.

15:01:27   18        Q.     Right.   Do you feel qualified to address Dr.

15:01:32   19   Jarvis's opinions as -- his clinical conclusions as an

15:01:32   20   infectious disease doctor?

15:01:34   21        A.     No.

15:01:34   22        Q.     Okay.    You're not an expert in filtration.

15:01:37   23        A.     No, I wouldn't call myself an expert.      I

15:01:40   24   used it in the course of my laboratory work.        But no.

15:01:43   25        Q.     You're not an expert in what we would call


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 CASE 0:15-md-02666-JNE-DTS Doc. 761 Filed 09/12/17 Page 41 of 41
                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                       364
16:48:41    1        A.      No.

16:48:41    2        Q.      Okay.

16:48:41    3        A.      No.

16:48:41    4        Q.      For instance, you're not a biomedical

16:48:43    5   engineer; are you?

16:48:44    6        A.      No.   No.   My -- my master's degree is in

16:48:47    7   physiology with an emphasis in biomedical

16:48:51    8   engineering, --

16:48:51    9        Q.      Okay.

16:48:51   10        A.      -- but it's not an engineering degree.

16:48:53   11        Q.      Now Dr.     David, who is a biomedical

16:48:55   12   engineer, gave an opinion that for each of these

16:48:57   13   devices, they are most likely safer and as effective

16:49:00   14   as the Bair Hugger.       You aren't going to be giving

16:49:03   15   opinions to the contrary based on reasonable

16:49:06   16   engineering certainty; are you?

16:49:08   17        A.      No.   But he provides no foundation for his

16:49:11   18   statement.

16:49:11   19        Q.      I understand you have criticisms.    I'm not

16:49:15   20   asking you that.       What I'm asking is a very simple

16:49:18   21   question, is if you can give me an opinion to a degree

16:49:19   22   of medical or scientific certainty that these devices

16:49:22   23   are not safer and as effective than the Bair Hugger.

16:49:28   24        A.      I have -- don't have that in my report.

16:49:30   25        Q.      Okay.   You -- you understand what the


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